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               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                  8:10CR158
                              )
          v.                  )
                              )
MARIA SANDOVAL,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on the statement of

objections to magistrate judge’s order (Filing No. 99).                The

Court has reviewed defendant’s original motion (Filing No. 96),

and finds the objections are well taken and that the motion

should be granted.      Accordingly,

           IT IS ORDERED that the objections to the magistrate

judge’s order are sustained.        Defendant shall have until July 13,

2010, to file pretrial motions.

           DATED this 1st day of July, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
